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          Subdivision              State               Signed With Permission               Name of At Least One Law Firm of Record   Jurisdiction     Docket Number

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